EXHIBIT C
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O   ï\trhen the zucchini bread is doner rÊrilûve it from the ouen nnd allow it to cool   for
    1ü   minutes in the pan, and then transfer it to a wire rack and let it conl completeþ.
That's when I thought to myself "If you €an surprise people         þ putting zucchiní in a
sweet brea{   wþ   not put it in   a savory bread?", so that's   exactþ what I did. Vagueh
reminiscent of a frittata, this bread uses a lot of eggs, giving it a msist e rumb that's
redolent of olive oil and thyrne. Rather than mix in shredded cheese that would melt
into oblivisn, I wanted the cheese ts have     a big FrÊsence. That's Hrhy I eut the eheddar

into big chunks, layering the blocks of cheese into the middle and on top sf the bread.
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         I know this is a mighty Iofrry thing to say abnut a humble soup I carne up with while
         sick, but snifflÊE   tr   not, this is the best chicken srup rÊcipÊ."" ever! There, I said it,
         because   if ever there    Hras sornething   to stake my rÊputation on, this here chicken soup
         would be it, and that's not the NyQuil talking.


         Beyond its curative abilities, chicken soup isn't something I normally crave.           f Inm
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0   When yûur ready to se'n¡e, eut the avocada into cubes and sprinkle with the trernon
    juice and a little salt, T*ss to distribute evenþr.
€   To cnnstruct your tartare, oil a ring mold and place it in the center of a plate. Add a
    layer of tuna and gentþ pack ít down.

O   Add a thin layer of avocado, gentþ packing, and then top by scooping the gelÉe on
    top like   a sauËe.   Givethe mold afew twists tn make sure it's not stieking andthen
    lift it straíght up.
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.{s for the fish, it doesn't have to be hlna, Tou could substitute red sea bream {tai},
halibut {hiname}, white trevalþ {shima-a;i}, or nther lean fish that's been handled and
prepared to be eaten rnï\i. One thing that I want to rnake clear is that just because a fish
is fresh,does not mean itns safeto eat r41il. In many cases (like salmon)   thefish
naturally e ontains parasites that need tn be killed hy freezing it at -31 degrË€s F for a
day {most home freezers won't go below -lt F}. In other casËsr if the fish is not properþ
handled {*.g. it's cut rn   n   cutting board used far non-sashimi-grade seafood} it can be
